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                     EXHIBIT J
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          IN RE: FUTURE MOTION, INC. PRODUCTS LIABILITY LITIGATION
                                  MDL 3087

                            Application for Plaintiff Leadership Position

A.     Applicant Information

       Name:                           Aaron M. Heckaman

       Law Firm:                       Bailey Cowan Heckaman PLLC (www.bchlaw.com)

       Years of Practice:              17

       List of Cases to be Transferred to MDL:

               Oatridge, et al. v. Future Motion, Inc., No. 5:21-cv-09906-BLF, in
               the United States District Court for the Northern District of
               California

               Bunnell, et al. v. Future Motion, Inc., No. 22-cv-01220-CNS-KAS,
               in the United States District Court for the District of Colorado

B.     Position(s) Sought

       Plaintiffs’ Steering Committee

C.     Mass Tort Experience

       Aaron has handled cases on behalf of mass tort clients since he started practicing law 17

years ago. His legal career is noteworthy for his representation of thousands of asbestos plaintiffs,

clients injured by catastrophic plant/industrial accidents, automotive, and other defective products,

servicemen and women injured by defective 3M earplugs, women injured by defective Essure

permanent birth control devices, clients injured by Roundup herbicide, hundreds of clients who

experienced physical injuries and property damage as a result of a plant explosion, hundreds of

victims of systemic abuse at the hands of the Boy Scouts of America, and thousands of victims of

defective pharmaceutical drugs including but not limited to Trasylol and proton pump inhibitor

(“PPI”) drugs. Aaron has effectively managed a mass tort practice his entire legal career.



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        Aaron’s primarily responsibility at Bailey Cowan Heckaman PLLC (“BCH”) is the

management and department head of the firm’s well-established national asbestos-litigation

practice. Aaron has worked on cases representing victims of asbestos poisoning since law school

and has since become a sought-after litigator in this area. He also frequently speaks at CLEs around

the country on asbestos litigation issues. Aaron currently oversees a docket of over 250 active

asbestos cancer cases filed across the country. He and his team have reached favorable resolution

for asbestos clients in over 35 different state and federal jurisdictions across the country. This

truly national practice has cultivated relationships with experts, judiciary, and co-counsel across

the country.

        Despite Aaron’s experience in multiple large-scale MDL proceedings and his law partners’

federal multi-district litigation (“MDL”) leadership roles, this would be Aaron’s first appointment

to a leadership committee in a federal MDL proceeding. This decision did not come lightly; Aaron

believes strongly in this case, and has the time, resources, and unique perspective from his

background to add a great deal of insight to the project.

        Aaron and his firm are also well known by and have strong working relationships with

many of the law firms already involved in this litigation. The firm’s reputation for working and

playing well with others is demonstrated by Aaron’s firm’s current involvement as an active

member of the PSC in the PPI MDL, In re Proton-Pump Inhibitor Litigation, No. 2:17-md-02789,

United States District Court for the District of New Jersey (Cecchi, J.) and in the 3M MDL, In re:

3M Combat Arms Earplug Products Liability Litigation, No. 3:19-md-02885, United States

District Court for the Northern District of Florida (Rodgers, M.). Aaron works well with others in

a group to do whatever is needed to help advance the common goals of a coordinated litigation

team.



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D.      MDL Experience


             MDL Name                   Subject Matter &                 Roles & Duties
                                         Current Status


     MDL 1928                       West Palm Beach, FL-           Full work-up of multiple
     In re: Trasylol Prods. Liab.   based MDL involving            bellwether cases.
     Litig.,                        serious kidney damage,         Presenting plaintiffs;
     S.D. Fla.                      congestive heart failure,      selecting, interviewing, and
                                    strokes, and death linked to   developing expert
                                    prophylactic drug Trasylol;    witnesses; and briefing and
                                    MDL proceedings                motion practice including
                                    successfully resolved          Daubert challenges.
                                    through global settlement.


     MDL 2789                       Newark, NJ-based MDL           Personally deposed
     In re: Proton Pump             involving kidney-related       AstraZeneca marketing and
     Inhibitor Litig.,              injuries linked to proton      sales liability witness
     D.N.J.                         pump inhibitor (heartburn)     regarding Prilosec. BCH
                                    drugs; MDL is ongoing.         law partner Camp Bailey
                                                                   serves on the PSC and the
                                                                   firm has assisted in all
                                                                   phases of cases workup.


     MDL 2543                       Manhattan, NY-based            BCH served as co-lead
     In re: General Motors LLC      MDL involving GM               counsel on two MDL
     Ignition Switch Litig.,        vehicles with allegedly        bellwether trial selections;
     S.D.N.Y.                       defective ignition switches    both cases resolved.
                                    linked to personal injury or   Assisted with full case
                                    economic loss; MDL is          work up including
                                    ongoing and nearing            depositions of both
                                    conclusion.                    Plaintiffs’ and Defendants’
                                                                   experts.




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        MDL Name                   Subject Matter &                   Roles & Duties
                                    Current Status


MDL 2885                       Pensacola, FL-based MDL          BCH served as co-lead
In re: 3M Combat Arms          involving 3M dual-ended          counsel on MDL
Earplug Prods. Liab. Litig.,   Combat Arms Earplugs,            bellwether trial selection
N.D. Fla.                      Version 2 (CAEv2) with           that went to verdict.
                               alleged known defects            Active in plaintiff
                               resulting in hearing loss,       preparation and expert
                               tinnitus, or other injuries to   workup. BCH law partner
                               servicemen and women.            Robert Cowan serves on
                                                                the PSC and the firm
                                                                assisted in an additional
                                                                bellwether trial cases that
                                                                reached jury verdicts.


JCCP NO. 4887                  Alameda County, CA-              Managed litigation team
In re: Essure Product          based JCCP involving             that took approximately
Cases, Alameda County, CA      Essure Permanent Birth           100 depositions in the
                               Control System linked to         Court ordered discovery
                               numerous side effects            wave. In process of
                               including perforated             resolving claims of 2,000
                               organs, autoimmune               clients.
                               diseases, severe pelvic
                               pain, and many others.


A2020-0236-MDL                 Orange County, TX-based          Plaintiffs’ Co-Lead
In re: TPC Group Litig.        MDL involving a series of        Counsel. Assists and
                               disastrous explosions and a      manages document review,
                               chemical fire that occurred      coordinates with
                               at the Texas Petroleum           defendants and third
                               Chemical (TPC) plant in          parties, and participates in
                               Port Neches, TX in               the organization and
                               November 2019, resulting         planning of prosecution
                               in widespread evacuations,       plan.
                               property damage, and the
                               release of harmful toxins.




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               MDL Name                    Subject Matter &                 Roles & Duties
                                            Current Status


     MDL 2973                          Newark, N.J.-based MDL         Negotiated and settled
     In re: Elmiron (Pentosan          involving vision-related       BCH’s docket of cases for
     Polysulfate Sodium) Prods.        injuries linked to pentosan    a confidential, multi-
     Liab. Litig.,                     polysulfate sodium drugs;      million-dollar figure.
     D.N.J.                            MDL is ongoing


E.        Trial Experience
          Aaron and his team have personally taken multiple asbestos-ligation cases from initial

work-up all the way to verdict. Specifically, Aaron was an integral member of the trial team in

Poage v. Crane Co. case in St. Louis which went to verdict in June of 2015. The Poage case was

a wrongful death case of a mesothelioma victim prosecuted on behalf of a U.S. Navy widow which

resulted in a jury verdict of 11.5 million dollars. Aaron’s law partner, Rob Cowan took lead pen

through the trial and appellate process and through BCH’s efforts, the “bare metal” (i.e.,

Defendant’s claim that it did not manufacture asbestos parts) and governmental immunity defenses

were defeated at the trial and appellate court. Additionally, BCH defeated Defendant’s

constitutional challenge to punitive damages ultimately protecting the full verdict for the Poage

family.

          Aaron was also a member of the trial team that took the Campbell v. Ford Motor Co. case

to verdict in the City of St. Louis in the summer of 2015. The Campbell case was a “take-home”

exposure case of a mesothelioma victim.

          Most recently, Aaron was an instrumental part of the trial team that took the Carroll, et al.

v. Brunswick Boat Group, et al. case to verdict in the Western District of Missouri in February of

2024. The Carroll matter involved a wrongful death claim as well as personal injuries sustained

after a boat explosion on Lake of the Ozarks.

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         Of note, Aaron has started trial in numerous cases and jurisdictions where he has been able

to reach a favorable resolution for his clients during the trial process. Several such cases are listed

below:

                   •   Roger Neely, Individually and for the use and benefit of the next
                       of kin Ruby Neely, Deceased v. E.I. Dupont De Nemours & Co.,
                       et al., In the Circuit Court for Davidson County, Tennessee,
                       Docket No. 09C3808

                   •   George Hamblet and Doris Hamblet, his wife v. John Crane,
                       Inc., et al., In the Circuit Court, Third Judicial Circuit, Madison
                       County, Illinois, Cause No. 12-L-821

                   •   Loretta Ciarlante Mooney, Executrix of the Estate of Dante
                       Ciarlante v. Allis-Chalmers Corporation, et al., In the Court of
                       Common Pleas of Philadelphia County, Pennsylvania, P.C.C.P.,
                       September Term 2010, No. 3575

                   •   Betty Kay Hughes, Personal Representative of the Estate of
                       Howard E. Hughes v. A.W. Chesterton Company, et al., In the
                       Circuit Court of Kanawha County, West Virginia, In re:
                       Asbestos Personal Injury Litigation, Mass Litigation Panel,
                       Civil Action No. 03-C-9600, October 17, 2011 Trial Group,
                       Civil Action No. 10-C-1937 KAN

                   •   Mauro Gonzalez, Rafael Gonzalez, and Demetro Gonzalez as
                       the surviving heirs of Luis Gonzalez, Deceased v. American
                       Optical Corporation, et al., In the Circuit Court of the Twenty-
                       Second Judicial Circuit, City of St. Louis, State of Missouri,
                       Cause No. 1422-CC00056

                   •   Howard W. Dilks (Deceased) v. 4520 Corp. Inc., et al., In the
                       Circuit Court for Baltimore City, In re: Baltimore City Asbestos
                       Litigation, Case No. 24-X-11-000056
         Aaron’s trial experience has provided him with unique insight to the inner motivations of

not only his clients, who often feel the need for their day in court, but that of counsel for the other

side. Such insight allows him to balance the needs of each side to reach the best possible outcome

for all parties.

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F.      Settlement Experience

        Navigating settlement criteria and grids according to years, severity of injury, and plaintiff

age is second nature to Aaron at this point. As BCH’s lead settlement negotiator for the asbestos

docket, Aaron has personally resolved over $250,000,000 in asbestos-related settlements.

Additionally, Aaron assisted settlements on behalf of all plaintiffs in the firm’s Roundup and

Essure dockets.

        Aaron routinely negotiates regarding specific terms of settlement documents for BCH

clients and has experience overseeing the management and resolution of settlement frameworks

post-signing of MSAs, including providing input on objective settlement criteria, lien resolution,

working with settlement special masters and administrators, ethical oversight, probate, bankruptcy,

and other client resolution and distribution issues that require a highly specialized skill set and

experience to successfully navigate. Finally, Aaron successfully helped negotiate the settlement

for the first Onewheel wrongful death case in the country and has experience working with defense

counsel for Future Motion, Inc. on settlement issues.

G.      Issue-Specific Experience

        Aaron background in litigating the first wrongful death case filed against Future Motion,

Inc. has afforded Aaron and his team a leg up on this litigation. Aaron personally took the

depositions of Future Motion, Inc.’s Chief Executive Officer, Chief Evangelist, and Chief

Operating Officer. Additionally, Aaron has been involved in the discovery process for multiple

catastrophic Onewheel injury cases and the review of documents provided by Future Motion, Inc.

in litigation.




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       Aaron has also been involved in all Plaintiffs’ meetings regarding Onewheel litigation

organization and joint prosecution. And, given BCH’s prior cases, Aaron has built a relationship

with counsel for Future Motion, Inc.

H.     Other Commitments

       Aaron is currently on the leadership committee for the Texas TPC explosion, which is an

industrial accident in a small town in Texas and is much more limited in scope than a federal MDL.

He does not anticipate this being a deterrent for the time or focus required for the Onewheel MDL.

I.     Financial Disclosure

       BCH anticipates funding this litigation and any other attendant financial commitments that

may arise in its normal course of business. The firm has sufficient liquid capital on hand to help

pay for anticipated litigation expenses.

J.     Additional Information

       1.      Judges or special masters familiar with Aaron’s work:

                   •   Hon. Stephen Stobbs, Chief Judge, Madison County, Illinois
                       (oversees asbestos litigation)

                   •   Hon. Rex M. Burlison, Presiding Judge, 22nd Judicial
                       Circuit of Missouri (trial judge in Poage v. Crane Co. and
                       Campbell v. Ford Motor Co.)

                   •   Hon. Alice B. Gibney, Presiding Justice, Superior Court of
                       Rhode Island (oversees Rhode Island asbestos litigation)

                   •   Special Master Robert Black, Partner, MehaffyWeber,
                       Houston (oversees recent MDL confidential settlements)

       2.      Additional information for consideration about Aaron’s professional

               background:        For more of his biographical information, please visit

               https://www.bchlaw.com/our-attorneys/aaron-heckaman/ and review the enclosed

               resume.

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